                                         UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF NORTH CAROLINA
                                              ASHEVILLE DIVISION
                                                 1:20-cv-255-MOC

               BOBBY KIRKPATRICK,                              )
                                                               )
                                      Plaintiff,               )
                                                               )
               v.                                              )
                                                                                       ORDER
                                                               )
               KILOLO KIJAKAZI,                                )
               Acting Commissioner of                          )
               Social Security,                                )
                                                               )
                                      Defendant.               )


                      THIS MATTER is before the Court on its own motion in light of Plaintiff’s Response to

              Motion for Summary Judgment, in which Plaintiff requests a stay of this case for briefing on the

              merits of the constitutionality of the Commissioner’s decision. (Doc. No. 26). Defendant shall have

              twenty days to file a response to Plaintiff’s stay request.


Signed: November 1, 2021




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